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CO 109A - Rey, 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

Civil/Criminal No.: — _CR21-552

VS.

KENNETH THOMAS

 

NOTE FROM JURY

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